
Wright, J.
The action being upon a premium note of the defendant, an assessment was a necessary condition to its maintenance. In February, 1853, and after the company in which the defendant was insured became insolvent, *87Bames, the then receiver of such company, assessed the note in action to the amount of $64.57, for losses which accrued while the defendant’s policy and note were in full force and effect, and for expenses for which his note was chargeable. The collection of this assessment was stayed by injunction in a suit brought against the company and the receiver, and such injunction was not vacated or set aside until June, 1860. On the 23d June, 1860, the plaintiff (who before that time had been appointed receiver in the place of Bames) assessed the defendant’s note to its full amount for losses and for expenses and liabilities accrued while the note and policy were in force, and also for expenses and liabilities incurred in executing the plaintiff’s trust as receiver, and which expenses were chargeable upon his note. If either of these assessments were regular and valid, the plaintiff was improperly non-suited.
The only ground for claiining the assessment made by Bames to be illegal, is that notice thereof was published in two newspapers, printed in the county of Oneida. I do not think this was such an irregularity as to invalidate the assessment, and constitute a defence to the action. There was no provision in the charter of the JEtna Insurance Company for giving notice of assessment on the premium notes; but one of its by-laws, adopted in 1851, prescribed the mode, viz : “By publication in three newspapers printed in Oneida county, three weeks successively, the last publication of which shall not be less than thirty days prior to the time fixed for payment; and in such other newspapers as the directors or the executive committee may deem necessary or expedient.” It is not important now to inquire what would have been the effect of the omission to publish the notice in three newspapers printed in such county, of an assessment made by the directors or a receiver prior to 1853. In 1853, in remodeling the general law for the incorporation of fire insurance companies, the directors of any mutual insurance company *88were authorized, after ascertaining the loss or damage by fire sustained by any member, or after the rendition of any judgment against the company for loss or damage, “ to ■ settle and determine the sums to be paid by the several members thereof, as their respective portions of such loss, and publish the same in such manner as they shall see jit, or as the by-laws shall have prescribed.” (Laws of 1853, ch. 466, § 13.) The statute thus left the manner of publication of notice of the assessment to the discretion of the directors. They might pursue the mode prescribed by the by-laws of the company, or any other mode of publication deemed advisable and proper.
Another provision of the statute would seem to strengthen this construction. Assessments are to be paid within thirty daysmext after publication of the notice ; but a neglect or refusal to do so within such time would not put the assessed member in default so that an action could be sustained against him by the directors. Before he is in default, and a right of action upon his note is given to the,directors, he must not only have neglected or refused to pay within the time, but there must have been a personal demand for payment of the assessment made upon him, (ch. 466 of 1853, § 13.) The only object of the publication is to notify the members of the assessment, and the amount they are required to pay, and afford them an opportunity to make payment. Adi this is effected by the pérsonal demand for payment, required to be made, and hence no injustice could be done by lodging with the directors a discretion as to the manner of publication.' It is enough, however, for the purposes of this case, that since the statute of 1853, the directors of a mutual insurance company are not required to publish an assessment for losses in such manner “ as the by-laws shall have prescribed,” unless they choose to do so. Having authority to publish it, “as they shall see.fit,” ■ they may adopt a mode of publication other than that*,*89prescribed by the by-laws, without invalidating the assessment. It may be conceded that it is a pre-requisite to a recovery upon a premium note that there should be a publication of the assessment. But the statute has not restricted the mode of publication, but left- it optional with the directors to pursue that prescribed by the bylaws of the company, or such other “ as they shall see fit.”
The receiver of an insolvent mutual insurance company is clothed with all the powers possessed by the directors for making and collecting assessments, (ch. 71 of 1852, §2.) The referee' has found that the receiver Barnes, in this case, published the notice of the assessment made by him in but two papers printed in the county of Oneida. The by-laws of the company provided that the publication should be in three newspapers. Eames was no more than the directors would have been, at the time the assessment was made, restricted to the manner of publication prescribed by such by-laws. It is conceded that he published the assessment in two newspapers printed in the county of Oneida ; and it was proved and found as a fact by the referee that the defendant was personally notified of it before the action was brought. Having a discretionary power or authority as to the manner of publication, the assessment was not invalid, nor was there a failure to put the defendant in default for not paying, for the reason that the latter was not notified of the assessment through the medium of three, instead of two newspapers printed in the county of Oneida.
The assessment of the receiver Sands was not objectionable, for the reason assigned by the referee. An assessment, in form, need not specify the name of the party bound to contribute, nor the amount of the note. A general assessment is good, by which a receiver declares that each premium note is assessed to the full amount thereof. There is no indefiniteness or uncertainty about. *90it, and the maker of each note is distinctly informed of the sum he is required to pay thereon. It was no objection to the assessment, in this case, that the premium notes in all classes and of all dates were assessed. All the assets of the company that came to the hands of the plaintiff as receiver, were the capital stock notes, amounting to about $100,000, and premium notes of all classes and dates to the amount of $67,000; and these assets were insufficient to pay the losses and expenses due from the company. The company had divided its applications for insurance into three classes, one of which was known as the hazardous department, and the premium note of the defendant was in that department. The amount of losses in the hazardous department, due and unpaid, which accrued during the year the defendant’s note and policy were in force, was more than could be collected on the notes of that department which were in force, and were liable for the losses and expenses, of that year. In addition, the losses and expenses of the company were more than the stock and premium notes of all classes and dates would pay. When it appears to a receiver, from the liabilities of the company, and the times the liabilities accrued, and from an examination of all the classes and notes of the company, that there is no note that is not chargeable to its entire amount for liabilities which justly attached during the existence of the policy accompanying such note, a general assessment upon all the notes, without regard to classes, and to their full amount, is unobjectionable. All the notes of the company constituted its capital, whether they be in one department or another, and if the necessity exists, resort must be had to the entire fund. An assessment made to-day of one class to' pay all the losses of that class, and an assessment to the residue of that class, at a futuue day, to pay the losses of another class, the assets of which are exhausted, would be idle and attended with unnecessary expense and delay, *91when the same could all be effected by one assessment. The defendant was liable to be assessed for losses occurring in the three classes of this company during the existence of his policy. If it required an assessment to the full amount of his note to pay such losses, the receiver could make it.
It is true that as his note was in the hazardous department, and his policy run for but one year, he was first liable to contribute for losses in that department, but if these losses did not exhaust his note, what was left was applicable to payment of losses in the other departments accruing during the year that his policy ran, and this was the precise condition of all the other premium note policyholders. The defendant, however, in this case cannot complain that the assessment was of the full amount of his note. It was proved, and the fact was distinctly found by the referee, that the ascertained losses accruing during the year that the defendant’s policy was in force, were more than could be collected on the notes of "the hazardous department, which were in force and liable for the losses of that year. The receiver was consequently justified in assessing the defendant’s notes to the full amount, and it was not for him to object that the notes in other classes and of other dates than his own were assessed.
I am of the opinion that both assessments were valid, and that the plaintiff was improperly non-suited. The judgment of the supreme court should be reversed and a new trial ordered.
All the judges agreed to the validity of the last assessment. Davies, Rosekrans and Balcom, JJ., concurred as to Barnes’ assessment, and Emott, Denio, Selden and Marvin, JJ., dissented from the opinion as to Barnes’ assessment.
